                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                  MIDDLE DISTRICT OF TENNESSEE
                                      NASHVILLE DIVISION


    L.W., et al.,                                     )
                                                      )
            Plaintiffs,                               )
                                                      )         NO. 3:23-cv-376
    and                                               )
                                                      )         JUDGE RICHARDSON
    UNITED STATES OF AMERICA,                         )
                                                      )
           Plaintiff-Intervenor.                      )
                                                      )
    v.                                                )
                                                      )
    SKRMETTI, et al.,                                 )
                                                      )
            Defendants,                               )
                                                      )

                                                 ORDER

             Pending is a decision on two petitions (collectively, “Petitions”)1 to the United States

     Supreme Court for writs of certiorari to the Sixth Circuit with respect to the Sixth Circuit’s

     Opinion and Judgment2 vacating the Court’s Order (Doc. No. 168) granting Plaintiff’s Motion

     for a Preliminary Injunction. (Doc. No. 21). The only pending motion is Plaintiff-Intervenor

     United States’s Motion for a Preliminary Injunction (Doc. No. 40), the outcome of which could

     depend upon the Supreme Court’s decision whether to grant the Petitions. The parties have

     filed two joint status updates informing the Court that there are no new developments as they

     await the Supreme Court’s decision. (Doc. No. 189, 190). In the earlier status update, the


1
 Notification of the filing of such petitions—one filed by Plaintiffs and one filed by Plaintiff-Intervenor
United States of America—has been filed on the docket of this district court case at Doc. Nos. 187 and
188, respectively.
2
 An informational copy of the Sixth Circuit’s Opinion and Judgment has been filed on the docket of this
district court case at Doc. No. 181.



    Case 3:23-cv-00376         Document 191         Filed 02/12/24       Page 1 of 2 PageID #: 2901
  parties stated:

                The Parties agree that Plaintiffs’ appellate remedies will be considered
       finally resolved upon the occurrence of: (1) an order from the Supreme Court of the
       United States denying the pending [Petitions]; or (2) the publication of an opinion
       from the Supreme Court of the United States resolving any or all questions
       presented in the [Petitions].

(Doc. No. 189 at 2).

          The Court does not anticipate any additional filings pending resolution of Plaintiffs’

  appellate remedies and thus finds it appropriate to stay this case pending such resolution. This

  case is therefore STAYED. The Clerk is DIRECTED to administratively close the case. The

  parties may move the Court to reopen the case at any time for good cause but should move the

  Court to reopen the case no later than ten (10) days from either the resolution of such appellate

  remedies (as defined by the parties as noted above) or the time, if later, that the parties perceive

  the case to be fully returned to this Court’s jurisdiction.

       IT IS SO ORDERED.

                                                       ___________________________________
                                                       ELI RICHARDSON
                                                       UNITED STATES DISTRICT JUDGE




Case 3:23-cv-00376          Document 191         Filed 02/12/24      Page 2 of 2 PageID #: 2902
